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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division


 LEAGUE OF UNITED LATIN
 AMERICAN CITIZENS - RICHMOND
 REGIONAL COUNCIL 4614,et al,

                        PlaintifTs,                 Civil Action No. l:I8cv0423(LO/IDD)

        V.



 PUBLIC INTEREST LEGAL
 FOUNDATION,et al.,

                        Defendants.



                                               ORDER


        For the reasons discussed with counsel and the parties during a conference on June 24,

 2019, it is ordered that all activity in this case is stayed until August 1,2019, and the hearing on

 the motions for summary judgment currently noticed for July 19,2019, is cancelled. If a

 stipulated order of dismissal has not been filed with the court by August 1, 2019,the parties shall

 appear for a status conference before the undersigned on Friday, August 2,2019 at 10:00 a.m.

        Entered this 25th day of June, 2019.
                                                        John F. Anderson
                                                        United Slates li/lagistrate Judge
                                                       John F, Anderson
                                                       United States Magistrate Judge
 Alexandria, Virginia
